          Case 1:13-cr-00036-LJO-SKO Document 114 Filed 04/09/14 Page 1 of 2


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 GRANT B. RABENN
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5
   Attorneys for Plaintiff
 6 United States of America

 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                    CASE NO. 1:13-CR-00036-LJO
11
                               Plaintiff,         ORDER FOR FORFEITURE MONEY
12                                                JUDGMENT
                         v.
13
     DUNG HANH DAO,
14
                               Defendant.
15
16
           Based upon the United States’ Application for Forfeiture Money Judgment and the
17
     plea agreement entered into between plaintiff United States of America and defendant
18
     Dung Hanh Dao,
19
           IT IS HEREBY ORDERED that
20
           1.     Defendant Dung Hanh Dao shall forfeit to the United States $70,000 and the
21
     Court imposes a personal forfeiture money judgment against the defendant in that
22
     amount.
23
           2.     Any funds applied towards such judgment shall be forfeited to the United
24
     States of America and disposed of as provided for by law. Prior to the imposition of
25
     sentence, any funds delivered to the United States to satisfy the personal money judgment
26
     shall be seized and held by the Customs and Border Protection, in its secure custody and
27
     control.
28

      Order for Forfeiture Money Judgment         1
         Case 1:13-cr-00036-LJO-SKO Document 114 Filed 04/09/14 Page 2 of 2


 1        3.     This Order of Forfeiture shall become final as to the defendant at the time of
 2 sentencing and shall be made part of the sentence and included in the judgment.

 3        4.     The United States may, at any time, move pursuant to Rule 32.2(e) to amend
 4 this Order of Forfeiture to substitute property having a value not to exceed $70,000 to

 5 satisfy the money judgment in whole or in part.

 6
     IT IS SO ORDERED.
 7
       Dated:   April 9, 2014                        /s/ Lawrence J. O’Neill
 8
                                               UNITED STATES DISTRICT JUDGE
 9
10

11

12

13

14

15
16

17

18

19

20

21

22

23

24

25

26
27

28

      Order for Forfeiture Money Judgment        2
